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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

JOHN DOE 1; JOHN DOE 3;                  )
JOHN DOE 7; JOHN DOE 9; and              )
JOHN DOE 10,                             )
                                         )
             Plaintiffs,                 )
                                         )
       v.                                )     CASE NO. 2:15-CV-606-WKW
                                         )               [WO]
STEVEN T. MARSHALL,                      )
Attorney General of the State of         )
Alabama, in his official capacity;       )
CHARLES WARD, Director of the            )
Alabama Department of Public             )
Safety, in his official capacity; and    )
HAL TAYLOR, Secretary of the             )
Alabama Law Enforcement Agency,          )
in his official capacity,                )
                                         )
             Defendants.                 )

                  MEMORANDUM OPINION AND ORDER

      The Alabama Sex Offender Registration and Community Notification Act

(ASORCNA) is the most comprehensive and debilitating sex-offender scheme in the

nation. No other state’s system comes close. ASORCNA applies to adult offenders

no matter when or where they were convicted. It bans them from living or working

within 2,000 feet of a school or daycare, even if the offender never harmed a child.

Between 10:30 p.m. and 6:00 a.m., no offender can be in the same house as a minor

niece or nephew — not even for a minute. An offender’s driver’s license is branded
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with “CRIMINAL SEX OFFENDER” in bold, red letters. Offenders must report

lawful internet activity — such as connecting to the Wi-Fi at a new McDonald’s, or

anonymously commenting on a news article — to the police. Even a minor violation

of any of these provisions may result in years behind bars. And unless a narrow

exception somehow applies, offenders must comply with ASORCNA for life. See

generally Ala. Code § 15-20A-1 et seq.

      The State of Alabama says that these restrictions protect the public, especially

children, from recidivist sex offenders. That is a compelling state interest. But sex

offenders are not second-class citizens. The Constitution protects their liberty and

dignity just as it protects everyone else’s.

      This case is about whether certain ASORCNA provisions violate the First and

Fourteenth Amendments. Plaintiffs are five registered sex offenders covered by

ASORCNA. Their claims are before the court on cross-motions for summary

judgment. (Docs. # 139, 147, 154.) For the reasons below, Plaintiffs are entitled to

summary judgment on their First Amendment claims. The branded-identification

requirement unnecessarily compels speech. The internet-use reporting requirements

also go too far, chilling free speech. But the State of Alabama is entitled to summary

judgment on Plaintiffs’ Fourteenth Amendment claims. Though Plaintiffs have

made several good legal arguments, one Fourteenth Amendment claim fails on the

merits, and Plaintiffs lack standing to pursue the rest.


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                        I. JURISDICTION AND VENUE

      The court has subject-matter jurisdiction under 28 U.S.C. §§ 1331, 1343, and

2201. The parties do not contest personal jurisdiction or venue.

                          II. STANDARD OF REVIEW

      To succeed on a motion for summary judgment, the moving party must show

that “there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). The court views the evidence,

and all reasonable inferences drawn from it, in the light most favorable to the

nonmoving party. Jean-Baptiste v. Gutierrez, 627 F.3d 816, 820 (11th Cir. 2010).

      A party seeking summary judgment “always bears the initial responsibility of

informing the district court of the basis for the motion.” Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986). This responsibility includes identifying the parts of the

record that show there is no genuine dispute of material fact. See Fed. R. Civ. P.

56(c)(1). “A verified complaint may be used in the summary judgment context, but

verification must be on personal knowledge alone, not knowledge, information and

belief.” Horne v. Russell Cty. Comm’n, 379 F. Supp. 2d 1305, 1323 (M.D. Ala.

2005) (citing Fowler v. S. Bell Tel. & Tel. Co., 343 F.2d 150, 154 (5th Cir. 1965)).

A movant who does not bear a trial burden of production may also assert, without

citing the record, that the nonmoving party “cannot produce admissible evidence to

support” a material fact. Fed. R. Civ. P. 56(c)(1)(B). If the moving party meets its


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burden, the burden shifts to the nonmoving party to present evidence of a genuine

dispute of material fact. See Celotex, 477 U.S. at 324. A genuine dispute of material

fact exists when the nonmoving party produces evidence allowing a reasonable fact-

finder to return a verdict in its favor. Waddell v. Valley Forge Dental Assocs., 276

F.3d 1275, 1279 (11th Cir. 2001).

      “Cross-motions for summary judgment will not, in themselves, warrant the

court in granting summary judgment unless one of the parties is entitled to judgment

as a matter of law on facts that are not genuinely disputed.” Bricklayers, Masons &

Plasterers Int’l Union v. Stuart Plastering Co., 512 F.2d 1017, 1023 (5th Cir. 1975).

Still, cross-motions “may be probative of the nonexistence of a factual dispute.”

Shook v. United States, 713 F.2d 662, 665 (11th Cir. 1983). If both parties proceed

on the same legal theories and rely on the same material facts, “the court is signaled

that the case is ripe for summary judgment.” Id.; see Ga. State Conf. of NAACP v.

Fayette Cty. Bd. of Comm’rs, 775 F.3d 1336, 1345 (11th Cir. 2015).

                                III. BACKGROUND

      ASORCNA is a comprehensive statute that severely limits how sex offenders

live their lives. It brings together most of the restrictive features used by other states,

adds new restrictions, and punishes minor violations with years in prison. Plaintiffs

John Doe 1, John Doe 3, John Doe 7, John Doe 9, and John Doe 10 are registered

sex offenders who must comply with ASORCNA. Their hopscotch numbering


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reflects that other plaintiffs have been dropped from this case during the three years

of litigation. Defendants are state officials charged with implementing and enforcing

ASORCNA. Because Defendants are sued in their official capacities, however, the

court refers to them collectively as “the State of Alabama” or “the State.”

A.     The Challenged Statutory Provisions

       The State of Alabama enacted its first sex-offender statute over five decades

ago. See Ala. Act No. 1967-507. That law merely required offenders to submit their

name to their county sheriff, id. § 1, and only law enforcement could access that

roster, id. § 2. But over the years, Alabama has repeatedly amended its sex-offender

laws to make them broader and more restrictive. See McGuire v. Strange, 83 F.

Supp. 3d 1231, 1236–40 (M.D. Ala. 2015); Doe v. Pryor, 61 F. Supp. 2d 1224, 1226–

29 (M.D. Ala. 1999). The current statute, ASORCNA, is comprised mostly of

legislation from 2011, 2015, and 2017. See Ala. Act No. 2011-640; Ala. Act No.

2015-463; Ala. Act. No. 2017-414.

       ASORCNA applies to adults convicted of any of thirty-three “sex offenses.”

Ala. Code § 15-20A-5. It also applies to anyone convicted in another jurisdiction of

a crime that, “if it had been committed in [Alabama] under the current provisions of

law, would constitute” a sex offense. Id. § 15-20A-5(35). It applies retroactively,

sweeping offenders under its control no matter when they were convicted or their

duty to register arose. Id. § 15-20A-3(a). Unless relieved from its requirements


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because of medical need or through one of the Act’s other narrow exceptions,1

offenders are subject to the Act’s requirements for life. Id. § 15-20A-3(b).

       1.      Reporting Requirements

       Offenders must register with law enforcement. Id. § 15-20A-10. When

registering, they must provide law enforcement with their home address, the name

and address of their employer, their vehicle information, their phone numbers, and

more. Id. § 15-20A-7(a)(4)–(8). Offenders must also report information about their

internet use: email addresses, instant-message usernames, “designations or monikers

used for self-identification in Internet communications or postings,” and “any and

all Internet service providers used by the sex offender.” Id. § 15-20A-7(a)(9), (18).

The Act does carve out a small exception: Offenders need not report an internet

identifier if it is “used exclusively in connection with a lawful commercial

transaction.” Id. § 15-20A-7(a)(9). But the Act does not define “lawful commercial

transaction” or explain how it differs from other internet use.

       Offenders must “immediately” update their registration information whenever

it changes. Id. § 15-20A-10. “Immediately” means within three business days. Id.

§ 15-20A-4(9). Most changes must be reported in-person. Id. § 15-20A-10(e)(1).

Changes to phone numbers, online identifiers, and internet service providers may be


       1
          For example, ASORCNA offers limited relief for juvenile offenders, Ala. Code § 15-
20A-28, and for those offenders whose crimes resulted from their victim’s age, if the offender was
less than five years older than his victim, id. § 15-20A-24.

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reported in-person, online, or over the phone, “as required by the local law

enforcement agency.” Id.

      2.     Residency Restrictions

      ASORCNA sharply limits where sex offenders may live. Offenders may not

“establish” or “maintain” a residence within 2,000 feet of a school, childcare facility,

or resident camp. Id. § 15-20A-11(a). Nor may they establish or maintain a

residence within 2,000 feet of where their victim, or an immediate family member

of their victim, resides. Id. § 15-20A-11(b). The exclusion zone is measured “in a

straight line from nearest property line to nearest property line.” Id. § 15-20A-11(h).

      ASORCNA also includes a “minor-cohabitation rule.” Under that rule, no

offender may “reside or conduct an overnight visit with a minor.” Id. § 15-20A-

11(d). “Any presence between the hours of 10:30 p.m. and 6:00 a.m.” counts as an

“overnight visit.” Id. § 15-20A-4(14). The minor-cohabitation rule generally does

not apply if the offender is the parent, grandparent, sibling, stepparent, or stepsibling

of the minor. Id. § 15-20A-11(d). In some cases where the offender’s victim was a

minor, however, the familial exceptions do not apply. Id. § 15-20A-11(d)(1)–(5).

      Deciphering the statutory meaning of “residence” is no small feat — it takes

several cross-references to pin down the term’s definition. “Residence” is defined

as “[a] fixed residence . . . or other place where the person resides, regardless of

whether the person declares or characterizes such place as a residence.” Id. § 15-


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20A-4(21). To “reside” is to be “habitually or systematically present at a place,” as

“determined by the totality of the circumstances.” Id. § 15-20A-4(20). In addition

to this catch-all definition, the Act gives three illustrations of when a person

“resides” at a place: first, if the person spends four hours there on three consecutive

days; second, if the person spends four hours there ten days a month; and third, if

the person spends any length of time there and indicates an intent to remain for the

named periods of time. Id. If an offender fails to notify law enforcement or obtain

a travel permit before spending three or more consecutive days away from his

residence, he is considered to have changed residences and must report the change

to the authorities. Id. §§ 15-20A-10(e)(2), 15-20A-11(e)(2).

      ASORCNA does have limited exceptions from the residency restrictions.

First, it offers a “safe harbor” from the 2,000-foot exclusion zone in the form of

preapproval: If law enforcement preapproves an address as ASORCNA-compliant

before an offender moves in, his residence there will not violate the 2,000-foot rule.

Id. § 15-20A-11(g). Second, offenders may petition a state court for relief based on

terminal illness, permanent immobility, or other debilitating medical condition. Id.

§ 15-20A-23(a). To grant this relief, the state court must find the petitioner poses

no substantial risk of engaging in future sexual misconduct. Id. § 15-20A-23(g).

      3.     Employment Restrictions

      ASORCNA also limits where offenders may work. Offenders may not


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“accept or maintain employment or a volunteer position” within 2,000 feet of a

school or childcare facility. Id. § 15-20A-13(b). Nor may they work within 500 feet

of a playground, park, or other place that “has a principal purpose of caring for,

educating, or entertaining minors.” Id. § 15-20A-13(c). Finally, they may not work

anywhere that provides services “primarily to children.” Id. § 15-20A-13(a).

      These employment restrictions apply to everyone, even if their offense did not

involve a minor. The exclusion zones are measured “from nearest property line to

nearest property line.” Id. § 15-20A-13(f). “Employment” includes volunteer work

and part-time work, but not “time spent traveling as a necessary incident to

performing the work.” Id. § 15-20A-4(5). There is no preapproval “safe harbor” for

the 2,000-foot employment exclusion zone. Offenders may, however, be relieved

from that restriction if a state court finds they pose no substantial risk of any future

sexual misconduct. Id. § 15-20A-25(f).

      4.     Branded Identification

      ASORCNA requires offenders to “obtain . . . and always have in [their]

possession, a valid driver license or identification card issued by the Alabama State

Law Enforcement Agency.” Id. § 15-20A-18(a). These identification cards must

“bear a designation that, at a minimum, enables law enforcement officers to identify

the licensee as a sex offender.” Id. § 15-20A-18(b)–(c). Offenders must relinquish

any non-branded ID issued “by a state motor vehicle agency.” Id. § 15-20A-18(d).


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       The Act bestows on the Secretary of the Alabama Law Enforcement Agency

the exclusive power “to promulgate any rules as are necessary to implement and

enforce” the Act. Id. § 15-20A-44(c). The Secretary, in turn, requires the face of

the ID cards to bear the inscription “CRIMINAL SEX OFFENDER” in bold, red

letters. The brand is printed in about the same font size used for the “endorsements”

label, and it is printed directly beneath the issuance date. (See Doc. # 156-4, at 28.)

       5.    Penalties for ASORCNA Violations

       ASORCNA’s provisions are enforced by threat of criminal prosecution. Even

a minor violation may constitute a Class C felony. See, e.g., Ala. Code § 15-20A-

10(j). Offenders are liable only if they “knowingly” violate the law, however. Id.

       The baseline term of imprisonment for a Class C felony is “not more than 10

years or less than 1 year and 1 day.” Id. § 13A-5-6(a)(3). But if the defendant was

convicted before of a Class A, B, or C felony, he must be sentenced to “not more

than 20 years or less than 2 years.” Id. §§ 13A-5-6(a)(2), 13A-5-9(a). And if he was

convicted before of two Class A, B, or C felonies, he must be sentenced to “life or

not more than 99 years or less than 10 years.” Id. §§ 13A-5-6(a)(1), 13A-5-9(b).

B.     The Plaintiffs

       In 1992 and 1993, John Doe 1 pleaded guilty to two Wisconsin misdemeanor

charges after he exposed his genitals in public. Doe 1 served a six-month suspended

sentence for each charge. He did not have to register as a sex offender in Wisconsin.


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Nor did he have to register when he moved to Alabama in 1994. It was only in 2008

that Alabama forced Doe 1 to register. Since then, he has twice been convicted of

violating ASORCNA: once for failing to report a change of address, and once for

redacting his branded identification. (Doc. # 138, at 8–9, 22, 32–33.)

      John Doe 3 was convicted of murder in 1968. He was thirteen. In 1985, while

in prison, he pleaded guilty to first-degree sodomy of another adult inmate. Doe 3

registered as a sex offender upon his release from prison in 2010. He has committed

no crimes since his release. (Doc. # 138, at 10; Doc. # 156-1, at 4–5, 25.) Doe 3 has

a close relationship with his adult niece. That niece invited Doe 3 to live with her,

but he cannot do so for two reasons. First, his niece lives within 2,000 feet of both

a school and a childcare facility. Second, his niece’s thirteen-year-old son and one-

year-old grandson live with her. (Docs. # 140-1, 156-2, 156-3.)

      John Doe 7 pleaded guilty to second-degree sodomy of an adult jail inmate in

1987. He registered as a sex offender upon his release from prison in 2011. In 2015,

he was convicted of violating ASORCNA’s residency restrictions. In 2018, he was

charged with two more residency violations. (Doc. # 138, at 11–12, 24–25; Doc.

# 150-7; Doc. # 156-4, at 4–5, 29.) When he was released from prison in 2011, Doe

7 had planned to live with his sister, but she lives within 2,000 feet of a school. His

sister’s granddaughter (age five) and great-granddaughter (age eight) also live with

her several nights a week. (Docs. # 140-2, 156-6.) Doe 7 has a close relationship


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with his niece, and she is willing to let Doe 7 live with her. But her home is within

2,000 feet of two childcare facilities, and her four-year-old daughter lives with her.

(Docs. # 140-3, 140-4, 156-3, 156-7.)

       John Doe 9 was convicted of sexual battery of an adult female in 2005. He

registered as a sex offender in Alabama in 2006. (Doc. # 138, at 12–13.)

       John Doe 10 pleaded guilty to second-degree sexual abuse, a misdemeanor,

in 1990. He registered as a sex offender at that time. In 2009, he went to Kansas

for a year-long drug-treatment program. When he returned home to Alabama, he

was convicted of failing to report that he moved to Kansas. (Doc. # 138, at 14.)

C.     Procedural History

       Plaintiffs filed their initial complaint in August 2015. (Doc. # 1.) They filed

amended complaints in November 2015 and August 2016. (Docs. # 39, 81.) The

State moved to dismiss both the first amended complaint and the second amended

complaint. (Docs. # 43, 87.) Those motions were granted in part and denied in part.

(Docs. # 51, 125.) In April 2018, Plaintiffs moved for leave to supplement their

second amended complaint. (Doc. # 132.) That motion was largely denied, though

Plaintiffs were allowed to make a small addition to one claim. (Doc. # 137.) As

things stand now, Plaintiffs have four operative claims. (See Doc. # 138.)

       Count One argues that the minor-cohabitation rule violates the Due Process

Clause of the Fourteenth Amendment. This is an as-applied challenge brought by


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Doe 3 and Doe 7, who claim the rule deprives them of their fundamental right to

associate with their family. (Doc. # 81, at 45; Doc. # 138, at 46.) They previously

challenged the 2,000-foot exclusion zone under the same family association theory,

but that part of Count One was dismissed in 2016. (Doc. # 51, at 31–33.)

      Count Three claims the residency and employment restrictions are facially

void for vagueness under the Due Process Clause. All five Plaintiffs bring this claim.

(Doc. # 81, at 48; Doc. # 138, at 46.) The supplemental second amended complaint

lists a vagueness challenge to reporting requirements (Doc. # 138, at 47), but that

claim was dismissed (Doc. # 125, at 29), and leave to amend was not granted (Doc.

# 137, at 8–10).

      Counts Four and Five raise First Amendment claims. Count Four is an as-

applied challenge to ASORCNA’s branded-identification requirement as applied by

the State. According to Plaintiffs, that requirement compels speech in violation of

the First Amendment. (Doc. # 81, at 49; Doc. # 138, at 47.)

      Count Five is a First Amendment overbreadth challenge to the internet-use

reporting requirements. Plaintiffs claim those reporting requirements unduly chill

free speech. (Doc. # 81, at 50; Doc. # 138, at 49.)

      Now before the court are cross-motions for summary judgment on all counts.

(Docs. # 139, 147, 154.) Each side has filed three briefs and several exhibits. (Docs.

# 140, 149, 155, 158, 159, 161.) The issues are ripe for summary judgment.


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                                 IV. DISCUSSION

       Plaintiffs are entitled to summary judgment on their claims that the branded-

identification and internet-use reporting requirements violate the First Amendment.

The court has already held that Plaintiffs have a cause of action on which relief may

be granted. (Doc. # 51, at 43–48; Doc. # 125, at 33–49.) Undisputed material facts

now show that Plaintiffs are entitled to judgment as a matter of law on those claims.

       But the State is entitled to summary judgment on the Fourteenth Amendment

claims. Though the court found before that Plaintiffs alleged valid claims under the

Fourteenth Amendment (Doc. # 51, at 21–28, 33–40; Doc. # 125, at 17–20, 24–32),

the facts in discovery do not bear out those claims. Doe 3 and Doe 7 lack standing

to challenge the minor-cohabitation rule because the relatives they want to live with

also live within 2,000 feet of schools and childcare facilities. As for the employment

exclusion zones, Plaintiffs have not been affected by any vagueness in that part of

the statute. Some Plaintiffs are disabled, and others concede that desired jobs are

within an exclusion zone. Finally, Plaintiffs fail to trace arbitrary enforcement of

the residency restrictions to any vagueness in the text of the law.

A.     Plaintiffs are entitled to summary judgment on their First Amendment
       claims.

       The First Amendment prohibits governments from “abridging the freedom of

speech.” U.S. Const. amend. I. ASORCNA’s branded-identification and internet-



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use reporting requirements violate that fundamental liberty. 2

       1.      The branded-identification requirement is compelled speech and does
               not survive strict scrutiny.

       In Wooley v. Maynard, the Supreme Court affirmed that the First Amendment

protects “both the right to speak freely and the right to refrain from speaking at all.”

430 U.S. 705, 714 (1977). The issue in Wooley was that New Hampshire printed its

motto, “Live Free or Die,” on most license plates. Id. at 707 & n.1. George Maynard

disagreed with that ideological message. The Court held that it was unconstitutional

to force Maynard and others to use their cars to propagate the state’s message. More

specifically, New Hampshire’s license plate law compelled speech, and the state had

no compelling interest in doing so. Id. at 715–17.

        Plaintiffs rely on Wooley and its progeny to argue that printing “CRIMINAL

SEX OFFENDER” on state-issued identification cards is unconstitutional. Plaintiffs

are correct. The branded-ID requirement compels speech, and it is not the least




       2
           In McGuire v. Strange, the court found that the branded-identification requirement is not
“punishment” and thus is not an ex post facto law. 83 F. Supp. 3d at 1254; see U.S. Const. art. I,
§ 10, cl. 1 (“No State shall . . . pass any . . . ex post facto Law”); United States v. W.B.H., 664 F.3d
848, 852 (11th Cir. 2011) (explaining that the Ex Post Facto Clause applies only to punitive laws).
The branded-ID requirement is not punitive because it is not similar enough to traditional “public
shaming.” McGuire, 83 F. Supp. 3d at 1354. Though the requirement is humiliating, defendants
in colonial times were “without any power to contain or control the extent or timing of the
humiliation.” Id. (citing W.B.H., 664 F.3d at 855). ASORCNA registrants, by contrast, “have
some degree of control over when and where to present identification.” Id. The court thus rejected
an ex post facto challenge to the branded-ID requirement. At the same time, however, the court
recognized that “there may be other constitutional concerns with requiring registrants to carry a
branded license.” Id. This case is about one of those other constitutional concerns.

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restrictive means of advancing a compelling state interest.

             a.    The branded-identification requirement compels speech.

      The first step in a Wooley-style analysis is to determine whether the state has,

in fact, compelled speech. This is a four-part test. There must be (1) speech; (2) to

which the plaintiff object; (3) that is compelled; and (4) that is readily associated

with the plaintiff. Cressman v. Thompson, 798 F.3d 938, 949–51 (10th Cir. 2015).

All four elements are satisfied here.

      First, just as the Court in Wooley “had no trouble” finding that “Live Free or

Die” was speech, neither does this court have trouble finding that “CRIMINAL SEX

OFFENDER” is speech. Cressman, 798 F.3d at 951.

      The State tries to distinguish Wooley as a case about ideological speech. Yet

the words here call to mind philosophical and moral messages about crime, victims,

retribution, deterrence, and rehabilitation. And even if they did not — even if the

words here were purely factual with no ideological implications — the compelled

speech doctrine would still apply. As the Supreme Court explained in Riley v.

National Federation of the Blind, “cases cannot be distinguished because they

involve compelled statements of opinion while here we deal with compelled

statements of ‘fact’: either form of compulsion burdens protected speech.” 487 U.S.

781, 797–98 (1988); see Rumsfeld v. Forum for Acad. & Inst. Rights, Inc., 547 U.S.

47, 62 (2006). “The constitutional harm — and what the First Amendment prohibits


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— is being forced to speak rather than to remain silent,” and that harm does not turn

on whether speech is ideological, factual, or something else.         Axson-Flynn v.

Johnson, 356 F.3d 1277, 1284 n.4 (10th Cir. 2004). Riley thus held that professional

fundraisers could not be forced to preemptively disclose to potential donors the

percentage of donations that the fundraisers actually turned over to charity. 487 U.S.

at 798; see also Frudden v. Pilling, 742 F.3d 1199, 1208 (9th Cir. 2014) (holding a

school motto, “Tomorrow’s Leaders,” on school uniforms was unconstitutional

compelled speech).

      Just as Wooley applies to compelled statements of fact, it also applies to

government speech. The message here is indeed government speech. After all, the

State issues the ID cards and controls what is printed on them. See Mech v. Sch. Bd.

of Palm Beach Cty., 806 F.3d 1070, 1075 (11th Cir. 2015) (defining government

speech). But the fact that a license is government speech does not mean it is immune

from the compelled speech analysis. License plates are government speech. See

Walker v. Texas Div., Sons of Confederate Vets., Inc., 135 S. Ct. 2239, 2246 (2015).

As a result, no one can force a state to print a particular message on a license plate.

Id. But under Wooley, neither can a state force someone to display a particular

message on his or her license plate. 430 U.S. at 717; Walker, 135 S. Ct. at 2252–53.

      Second, Plaintiffs do not agree that they are “criminal sex offenders.” Though

even a minor disagreement with a message is enough for constitutional purposes, see


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United States v. United Foods, Inc., 533 U.S. 405, 411 (2001), Plaintiffs strongly

object to the message here. Doe 1, for example, “vehemently denies” that he is a

criminal sex offender. (Doc. # 138, at 8.) Doe 10 describes the humiliation he feels

whenever he shows his identification during everyday activities:

      I have never felt so embarrassed and ashamed in all of my life. I would
      not wish showing this [branded identification] on my worst enemy. It
      makes me not want to go places where I have to show it, and I try not
      to go places where I know I will have to [show the branded license].
      But every week, there is some places that ask me to show it, and every
      time, I get them evil looks from people — like I’m a murderer or
      something. I done paid for what I did over 25 years ago. Nobody
      should have to carry this [branded license]. It ain’t right, but I don’t
      have a way out.

(Doc. # 138, at 34.) Doe 3, Doe 7, and Doe 9 describe similar experiences with, and

thus their disagreement with, the State’s message. (Doc. # 138, at 13, 33; Doc.

# 156-1, at 10–11; Doc. # 156-4, at 13.)

      Third, Plaintiffs are compelled to display the offensive message. Plaintiffs

are legally required to keep their ID “in [their] possession” at all times. Ala. Code

§ 15-20A-18(a). They cannot have any non-branded ID issued “by a state motor

vehicle agency.” Id. § 15-20A-18(d). State-issued photo ID is a virtual necessity

these days. One must show ID to enter some businesses, to cash checks, to get a job,

to buy certain items, and more. That is like the situation in Wooley. Although New

Hampshire did not force George Maynard to drive a car, driving was (and is) “a

virtual necessity for most Americans,” so the license plate message was compelled


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speech. 430 U.S. at 715. Here, the State has similarly conditioned a virtual necessity

of everyday life on displaying a message to others.

       The State of Alabama contends that Plaintiffs are not compelled to show their

branded IDs to anyone. Instead, the State says, Plaintiffs could use a passport. But

a passport is a poor substitute for a state-issued ID. Passports are cumbersome and

highly sought-after on the black market.3 They also cost money. A passport book

is $145, and a passport card is $65. (Doc. # 156-1, at 35.) Doe 3 cannot afford

either. (Doc. # 156-1, at 10, 14.) More importantly, the State cannot force someone

to choose between carrying a government message and paying extra money. See

Cressman v. Thompson, 719 F.3d 1139, 1148 (10th Cir. 2013) (holding speech is

compelled when one “must choose between (1) prosecution and criminal penalties

. . . and (2) paying additional fees”). Even in Wooley, George Maynard could have

avoided displaying the state motto if he had spent extra money: License plates for

antique automobiles did not include the motto. 430 U.S. at 707 n.1. But the Court

still found that the state had compelled speech. Id. at 715.

       Fourth, the message on the branded IDs is “readily associated” with Plaintiffs.

Id. at 717 n.15; see Johanns v. Livestock Mktg. Ass’n, 544 U.S. 550, 565 (2005).


       3
          See Stolen Passports: A Terrorist’s First Class Ticket: Hearing Before the H. Comm. on
Int’l Relations, 108th Cong. 1 (2004) (statement of Rep. Henry J. Hyde, Chair, H. Comm. on Int’l
Relations) (“A stolen passport may be worth more than its weight in gold.”); Rey Koslowski, Smart
Borders, Virtual Borders, or No Borders: Homeland Security Choices for the United States and
Canada, 11 L. & Bus. Rev. Am. 527, 536 (2005) (recognizing the demand for stolen passports).

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The words “CRIMINAL SEX OFFENDER” are about Plaintiffs. The ID cards are

chock-full of Plaintiffs’ personal information: their full name, photograph, date of

birth, home address, sex, height, weight, hair color, eye color, and signature. Just as

George Maynard was associated with his stationwagon, Plaintiffs are associated with

their licenses. When people see the brand on Plaintiffs’ IDs, they associate it with

Plaintiffs. The dirty looks that Plaintiffs get are not directed at the State.

      The State likens the words on Plaintiffs’ IDs to the national motto, “In God

We Trust,” on U.S. currency. Several courts recently held that engraving that motto

on currency is not compelled speech, reasoning that the motto is attributed only to

the government and that no one must display currency. New Doe Child #1 v. United

States, 901 F.3d 1015, 1024 (8th Cir. 2018); Mayle v. United States, 891 F.3d 680,

686 (7th Cir. 2018); New Doe Child #1 v. Cong. of the U.S., 891 F.3d 578, 593–94

(6th Cir. 2018). But currency is not personalized; it says not a word about the person

who holds it. Nor is currency displayed; it is exchanged. Hundreds of people may

spend the same dollar bill. Identification cards, by contrast, are personalized. They

are meant to convey substantive personal information about their holders. They are

meant to be displayed, never to be given away.

             b.     The branded-identification requirement fails strict scrutiny.

      Because it compels speech, ASORCNA’s branded-identification requirement

“is a content-based regulation of speech.” NIFLA v. Becerra, 138 S. Ct. 2361, 2371


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(2018); see Riley, 487 U.S. at 795 (“Mandating speech that a speaker would not

otherwise make necessarily alters the content of the speech.”). As a result, it must

pass strict scrutiny. Reed v. Town of Gilbert, 135 S. Ct. 2218, 2226 (2015). That

means the State must have a compelling interest, and it must have adopted the least

restrictive means of achieving that interest. Id.

       The State has a compelling interest in enabling law enforcement to identify a

person as a sex offender. See Ala. Code § 15-20A-18(b)–(d). But Alabama has not

adopted the least restrictive means of achieving that interest. By using “CRIMINAL

SEX OFFENDER” instead of a single letter, the State goes beyond what is necessary

to achieve its asserted interest. Both the Secretary of the Alabama Law Enforcement

Agency and the Director of the Alabama Department of Public Safety agree that the

State could use a single letter to designate sex offenders. (Doc. # 140-5, at 10; Doc.

# 140-6, at 10–11.) The Director of Public Safety also agrees that law enforcement

officers would know what that single letter meant. (Doc. # 140-6, at 11.) Yet the

general public most likely would not know what that single letter meant. Thus, using

one letter would keep officers informed while reducing the unnecessary disclosure

of information to others.4


       4
          Other states use more discrete labels. Delaware, for example, uses the letter “Y” to
denote sex-offender status. Del. Code tit. 21, § 2718(e) (2018). Florida divides offenders into
categories: most have a code (“943.0435, F.S.”) on their ID, while a “sexual predator” label is used
for the most serious offenders. Fla. Stat. § 322.141(3) (2018). (Florida Statute § 943.0435 requires
sex offenders to register with the state.) This is relevant evidence in determining whether Alabama
has adopted the least restrictive means of furthering its interest. See United States v. Secretary,
                                                21
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       Because Alabama has not used the least restrictive means of advancing its

interest, Alabama Code § 15-20A-18, as applied by the State, is unconstitutional.

       2.     The internet-use reporting requirements are facially overbroad.

       “The Constitution gives significant protection from overbroad laws that chill

speech within the First Amendment’s vast and privileged sphere.” Ashcroft v. Free

Speech Coal., 535 U.S. 234, 244 (2002). Though a state may burden speech if it has

a strong enough interest, it cannot overburden speech. ASORCNA’s internet-use

reporting requirements unduly chill protected speech, so they are unconstitutional.

              a.      The internet-use reporting requirements burden free speech.

       ASORCNA implicates the First Amendment because it requires “a narrow

class of individuals to notify the government” within three business days of engaging

certain online activity. Doe v. Harris, 772 F.3d 563, 572 (9th Cir. 2014). The Act

requires offenders to report every “email addresses or instant message address or

identifiers used, including any designations or monikers used for self-identification

in Internet communications or postings other than those used exclusively in

connection with a lawful commercial transaction.” Ala. Code § 15-20A-7(a)(9).

Offenders must also provide a list of “any and all Internet service providers used by

the sex offender.” Id. § 15-20A-7(a)(18); see id. § 15-20A-10(e)(1).

       These requirements burden an offender’s “ability and willingness to speak on


Fla. Dep’t of Corrections, 828 F.3d 1341, 1349 (11th Cir. 2016).

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the Internet.” Harris, 772 F.3d at 572. Indeed, the Act specifically refers to “self-

identification in Internet communications or postings.” Ala. Code § 15-20A-7(a)(9)

(emphasis added). It creates an “affirmative obligation” to report activity, Lamont

v. Postmaster Gen., 381 U.S. 301, 307 (1965), thus requiring offenders to weigh the

benefits of speech against the burden of reporting it. It is no defense that the burden

falls mainly on online speech. Reno v. ACLU, 521 U.S. 844, 870 (1997). Nor is a

defense that the Act burdens rather than bans speech; “the distinction between laws

burdening and laws banning speech is but a matter of degree.” Sorrell v. IMS Health,

Inc., 564 U.S. 552, 565–66 (2011) (quoting United States v. Playboy Entm’t Grp.,

529 U.S. 803, 812 (2000)) (cleaned up).

      The Act is also far-reaching. An offender must report to the police every time

he connects to a Wi-Fi spot at a new McDonald’s, every time he uses a new computer

terminal at a public library, every time he borrows a smartphone to read the news

online, and every time he anonymously comments on a news article. Every time he

walks into a new coffee shop, he must determine whether opening his laptop is worth

the hassle of reporting. The Act is not limited to unlawful internet activity. To the

contrary, “just as the Act burdens sending child pornography and soliciting sex with

minors, it also burdens blogging about political topics and posting comments to

online news articles.” Harris, 772 F.3d at 573.5


      5
          To be sure, ASORCNA puts only a minimal restriction on the right to anonymous speech.
                                              23
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       The State argues that “if a sexual predator is changing online identities and

email addresses so often that it becomes a burden, one must wonder why he is going

through such efforts to change his online identity.” (Doc. # 155, at 52.) “Normal

internet usage,” it says, “would not require so many different online identities that

reporting would be such a burden that it chills anyone’s speech.” (Doc. # 155, at

53.) But that argument has several flaws. One is that it incorrectly assumes the Act

applies only to “sexual predators.” Not every offender is a “predator,” and the State

poisons the well by implying otherwise. Another flaw is that it assumes one must

report several times before reporting is a burden. In reality, offenders experience a

burden each time they must report their online activity. And finally, the State plainly

understates ASORCNA’s true impact. ASORCNA burdens speech.

              b.      Strict scrutiny applies because the law is not content neutral.

       Once a court finds that a law burdens speech, the next step is to determine

what level of scrutiny applies. The level of scrutiny hinges on content neutrality.

“Content-based laws — those that target speech based on its communicative content

— are presumptively unconstitutional and may be justified only if the government

proves that they are narrowly tailored to serve compelling state interests.” Reed, 135


Standing alone, knowledge that speech may be monitored does not unconstitutionally burden
speech. See Laird v. Tatum, 408 U.S. 1, 11 (1972). ASORCNA also prohibits disclosing internet
activity to the public. Ala. Code § 15-20A-8(b)(5)–(6). Instead, an offender’s internet activity
“may only be disclosed pursuant to federal law or to law enforcement for the purpose of
administering, implementing, or enforcing [ASORCNA] or to prevent or investigate a crime by
the sex offender based on an articulable basis for suspicion.” Id. § 15-20A-42(h).

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S. Ct. at 2226. Under strict scrutiny, a law is invalid unless it uses the least restrictive

means of furthering the compelling interest. Playboy, 529 U.S. at 813. On the other

hand, if a law regulates speech without reference to content, it receives

“intermediate” scrutiny. Turner Broad. Sys., Inc. v. F.C.C., 512 U.S. 622, 642

(1994). Under that test, a law cannot “burden substantially more speech than is

necessary to further the government’s legitimate interests.” Id. at 662 (quoting Ward

v. Rock Against Racism, 491 U.S. 781, 799 (1989)).

       ASORCNA is a content-based law because it singles out commercial speech

for special treatment. See Playboy, 529 U.S. at 811. If an offender uses an identifier

“exclusively in connection with a lawful commercial transaction,” he need not report

it. Ala. Code § 15-20A-7(a)(9). Online identifiers used for other topics, though, are

not exempt. The only way to tell whether an identifier is exempt is to examine the

content of the offender’s speech. ASORCNA is therefore “subject to strict scrutiny

regardless of the government’s benign motive, content-neutral justification, or lack

of animus toward the ideas contained in the regulated speech.” Reed, 135 S. Ct. at

2228 (cleaned up). But because the Act burdens substantially more speech than

necessary, it fails even intermediate scrutiny.

              c.     The internet-use reporting requirements do not survive even
                     intermediate scrutiny.

       The State has a compelling interest in protecting its citizens from predators.

See Ala. Code § 15-20A-2(4) (“The Legislature declares that its intent . . . is to assist

                                            25
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law enforcement in carrying out their duties and, most importantly, to protect the

public, especially children.”); Doe v. Shurtleff, 628 F.3d 1217, 1223 (10th Cir. 2010)

(“We have no doubt that the State . . . has a compelling interest in investigating

kidnapping and sex-related crimes.”). To the State’s credit, that interest is “unrelated

to the suppression of free expression.” United States v. O’Brien, 391 U.S. 367, 377

(1968). But the State has not shown that ASORCNA is narrowly tailored. Because

the Act requires an affirmative act as a condition of First Amendment activity,

applies broadly, gives wide discretion to law enforcement, threatens serious criminal

penalties, and applies forever without regard to risk, it is not narrowly tailored.

      First, under ASORCNA, “anytime registrants want to communicate with a

new identifier, they must assess whether the message they intend to communicate is

worth the hassle of” immediately reporting the change to law enforcement. Harris,

772 F.3d at 582. This chills speech and deters expressive activity. See Lamont, 381

U.S. at 307. And inevitably, some offenders will have to report in person if “required

by [their] local law enforcement agency.” Ala. Code § 15-20A-10(e)(1). That

makes reporting “not only psychologically chilling, but physically inconvenient.”

Harris, 772 F.3d at 582.

      Second, the Act applies to broad swaths of lawful speech. A state “may not

suppress lawful speech as the means to suppress unlawful speech.” Ashcroft, 535

U.S. at 255. But Alabama makes little effort to single out types of speech that raise


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safety concerns. The Act does have an exception for identifiers “used exclusively

in connection with a lawful commercial transaction.” Ala. Code § 15-20A-7(a)(9).

That is a sensible exception. But why just commerce-related speech? As the Ninth

Circuit observed when it struck down an internet-use reporting requirement, if “a

sex offender establishes a username on a news outlet’s website for purposes of

posting comments to news articles, it is hard to imagine how speedily reporting that

identifier will serve the government’s interests.” Harris, 772 F.3d at 582; see also

White v. Baker, 696 F. Supp. 2d 1289, 1309 (N.D. Ga. 2010) (“A regulatory scheme

designed to further the state’s legitimate interest in protecting children from

communication enticing them into illegal sexual activity should consider how and

where on the internet such communication occurs.”). Perhaps the State could enact

a “specific, narrowly tailored” law addressing “conduct that often presages a sexual

crime, like contacting a minor or using a website to gather information about a

minor.” Packingham v. North Carolina, 137 S. Ct. 1730, 1737 (2017). But the State

did not do so here.

      Third, ASORCNA grants local law enforcement significant discretion. There

is no objective limiting principle to prevent arbitrary or discriminatory enforcement.

The sheriff of one county could require offenders to report in-person each time they

create a new online identifier, while the sheriff of a neighboring county could let

offenders report such changes over the phone. Indeed, nothing keeps police officers


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from requiring one offender to report in-person while allowing others to report over

the phone. The effect of this discretion is that offenders may fear retribution if they

criticize the police online. That conflicts with the need for “stringent protection of

First Amendment rights.” Cate v. Oldham, 707 F.2d 1176, 1189 (11th Cir. 1983);

see also Bell v. City of Winter Park, 745 F.3d 1318, 1324 (11th Cir. 2014) (“A grant

of unrestrained discretion to an official responsible for monitoring and regulating

First Amendment activities is facially unconstitutional.”) (quoting Atl. J. & Const.

v. City of Atl. Dep’t of Aviation, 322 F.3d 1298, 1310 (11th Cir. 2003) (en banc)).

      Fourth, violating ASORCNA can lead to a felony conviction and years behind

bars. This “may well cause speakers to remain silent rather than communicate.”

Reno, 521 U.S. at 872; see Harris, 772 F.3d at 578 (“The concern that an overbroad

statute deters protected speech is especially strong where, as here, the statute

imposes criminal sanctions.”) (citing Virginia v. Hicks, 539 U.S. 113, 119 (2003)).

      Finally, the reporting requirements apply for life without regard to risk. Doe

1, for example, was convicted twenty-six years ago of what was basically indecent

exposure. Doe 3 and Doe 7’s convictions, while for more serious crimes, are over

three decades old. No Plaintiff used the internet in any capacity to facilitate their

crimes. No Plaintiffs’ crimes involved minors. Yet every offender must report when

they connect to a new Wi-Fi spot.

      The failure to account for risk is a problem throughout ASORCNA. Not all


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sex crimes are the same. Nor are all offenders the same. Instead, as Dr. Karl Hanson

explains (Docs. # 159-1, 159-2, 159-3), one can classify sex offenders based on their

risk of committing another sex offense (“sexual recidivism”). 6 Some offenders have

a low risk of sexual recidivism; others have a medium or a high risk. Also, the older

someone gets, and the longer they go without committing a new crime, the less likely

they are to reoffend. At a certain point, “most individuals convicted of a sexual

offense will be no more likely to commit another sexual offense than the rate of

spontaneous ‘out-of-the-blue’ sexual offenses in the general population.” (Doc.

# 159-1, at 5.) Low-risk offenders cross that threshold upon release from prison.

Medium-risk offenders cross it ten to fifteen years later. Even high-risk offenders,

after twenty years offense-free, pose no more of a threat to the public than does the

average man walking down the street. (Doc. # 159-1, at 7–14.)7


       6
          Data discussed in Dr. Hanson’s report is published in academic journals. See, e.g., R.
Karl Hanson et al., Reductions in Risk Based on Time Offense-Free in the Community: Once a
Sexual Offender, Not Always a Sexual Offender, 24 Psychol., Pub. Pol’y & L. 48, 53–57 (2018);
R. Karl Hanson et al., High-Risk Sex Offenders May Not Be High Risk Forever, 29 J. Interpersonal
Violence 2792, 2796–2802 (2014). The court, however, relies solely on the reports. The State did
not challenge whether Dr. Hanson is an “expert” under Federal Rule of Evidence 702 or Daubert
v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 589–95 (1993).

       7
         The State’s expert, Dr. Nicholas Scurich, does not contradict the discussion above. Dr.
Scurich’s report (Doc. # 156-8) focused on how often recidivists “crossover” to different types of
victims. He reports that 11% of recidivists have both adult and child victims. (Doc. # 156-8, at
8–9.) But Dr. Scurich describes those who, by definition, have more than one victim. “Instead of
concluding that 1-in-10 individuals with a history of sexual crime will offend against both adults
and children, the studies reviewed by Dr. Scurich actually state that if the individuals were to
reoffend sexually, there is a 1-in-10 chance that it would be against a victim in a different age
category.” (Doc. # 159-3, at 2.) The court focuses on “the risk of sexual recidivism generally”
(Doc. # 156-8, at 12), which Dr. Hanson addresses and which Dr. Scurich largely ignores.

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       Because they chill a wide swath of protected speech under penalty of felony,

ASORCNA’s internet-use reporting requirements, Ala. Code §§ 15-20A-7(a)(9),

(18), 15-20A-10(e)(1), are facially overbroad in violation of the First Amendment.

B.     Defendants are entitled to summary judgment on Plaintiffs’ Fourteenth
       Amendment claims.

       The Fourteenth Amendment’s Due Process Clause provides that no state shall

“deprive any person of life, liberty, or property, without due process of law.” U.S.

Const. amend. XIV, § 1. That promise has procedural and substantive components.

Procedural due process “guarantees that a state will not deprive a person of life,

liberty, or property without some form of notice and opportunity to be heard.” Doe

v. Moore, 410 F.3d 1337, 1342 (11th Cir. 2005). Substantive due process “protects

fundamental rights that are so implicit in the concept of ordered liberty that neither

liberty nor justice would exist if they were sacrificed.” Id. (cleaned up). Plaintiffs

claim that ASORCNA’s minor-cohabitation rule violates substantive due process.

They claim the residency and employment exclusion zones violate procedural due

process. But under the facts, these Fourteenth Amendment claims fail.

       1.    Doe 3 and Doe 7 lack standing to challenge the minor-cohabitation
             rule.

       The Constitution “protects the sanctity of the family.” Moore v. City of East

Cleveland, 431 U.S. 494, 503 (1977). So “when the government intrudes on choices

concerning family living arrangements,” id. at 499, the government’s action must


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pass strict scrutiny, see Reno v. Flores, 507 U.S. 292, 302 (1993).

       Doe 3 and Doe 7 claim that the minor-cohabitation rule, Ala. Code § 15-20A-

11(d), violates this fundamental right to familial association. The court previously

found that Doe 3 and Doe 7 had stated a valid claim because the rule bars them from

living with their family members of choice. (Doc. # 51, at 33–40; Doc. # 125, at

17–21.) Doe 3 wants to be able to live with his niece, but she has a thirteen-year-

old son and a one-year-old grandson in her home. (Docs. # 140-1, 156-2.) Doe 7

wants to be able to live with his niece, but she lives with her four-year-old daughter.

(Docs. # 140-3, 156-7.) Doe 7 would also like to be able to live with his sister, but

her five-year-old granddaughter and eight-year-old great-granddaughter stay with

her several nights a week. (Docs. # 140-2, 156-6.)8 The minor-cohabitation rule

prohibits these living arrangements even though Doe 3 and Doe 7 never harmed

children. Family members agree that Doe 3 and Doe 7 can be trusted with children.

None of the reasons that keep parents from living with their children, Ala. Code

§ 15-20A-11(d)(1)–(5), apply to Doe 3 or Doe 7.

       On summary judgment, though, it is not enough to rely on allegations. Actual

facts matter. Fed. R. Civ. P. 56(e). And during discovery, facts came out that keep

Doe 3 and Doe 7 from advancing their claims.


       8
          In his deposition, Doe 7 mentioned a third relative. The parties later stipulated that, on
summary judgment, “Doe 7 shall not base any alleged infringement of his right to intimate
association” on his right to live with that third relative. (Doc. # 156-5, at 2–3.)

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        A plaintiff must have standing throughout his case. CAMP Legal Def. Fund,

Inc. v. City of Atlanta, 451 F.3d 1257, 1269–70 (11th Cir. 2006) (citing Lujan v.

Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)). “The irreducible constitutional

minimum of standing” requires a plaintiff to show that (1) he suffered an injury-in-

fact; (2) the defendant caused that injury; and (3) it is likely that a favorable court

decision will redress the injury. Id. at 1269 (quoting Lujan, 504 U.S. at 560) (cleaned

up). When two laws independently prohibit the same thing but a plaintiff challenges

only one law, the plaintiff lacks standing. That is because the challenged law does

not cause the plaintiff’s injury (the unchallenged law does), and striking down the

challenged law would not remedy the injury (because the unchallenged law would

still apply). 9

       The Eleventh Circuit applied this rule in KH Outdoor, L.L.C. v. Clay County,

482 F.3d 1299 (11th Cir. 2007), and Maverick Media Group v. Hillsborough County,

528 F.3d 817 (11th Cir. 2008) (per curiam). Both cases dealt with county ordinances

that prohibited advertising billboards. The plaintiffs argued the ordinances were

content-based restrictions in violation of the First Amendment. KH Outdoor, 482




       9
          See, e.g., Delta Constr. Co. v. E.P.A., 783 F.3d 1291, 1296–97 (D.C. Cir. 2015) (per
curiam); White v. United States, 601 F.3d 545, 552 (6th Cir. 2010); Howard v. N.J. Dep’t of Civ.
Serv., 667 F.2d 1099, 1102 (3d Cir. 1981); see also 13A Charles Alan Wright & Arthur R. Miller,
Federal Practice and Procedure § 3531.5 (3d ed. 2008 & Supp. 2018) (“Rather than a break in
one causal chain, standing may be defeated by finding a different cause. . . . Independent causation
may be found when a plaintiff’s activity is independently proscribed by two different laws.”).

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F.3d at 1301; Maverick, 528 F.3d at 819. But the plaintiffs lacked standing. In KH

Outdoor, the plaintiff’s application to erect a billboard did not comply with the

building code. 482 F.3d at 1304. In Maverick, the proposed sign violated a size

restriction that was independent of the billboard ban. 528 F.3d at 821. So, the

Eleventh Circuit held, the billboard bans had caused no cognizable injuries. Even if

those bans were unconstitutional, the plaintiffs could not have built their desired

signs. KH Outdoor, 482 F.3d at 1304; Maverick, 528 F.3d at 821–22.

       This principle keeps Doe 3 and Doe 7 from advancing their challenge to the

minor-cohabitation rule. That is because each of the relatives that Doe 3 and Doe 7

identified live within a residential exclusion zone. Ala. Code § 15-20A-11(a). Doe

3’s niece lives within 2,000 feet of both a school and a childcare facility. (Docs.

# 140-1, 156-2, 156-3.) Doe 7’s niece lives within 2,000 feet of two childcare

facilities. (Docs. # 140-3, 140-4, 156-3, 156-7.) And Doe 7’s sister lives within

2,000 feet of a school. (Docs. # 140-2, 156-6.)

       Doe 3 and Doe 7 do not currently challenge the 2,000-foot exclusion zones as

violating the right to familial association. They brought such a challenge at first, but

it was dismissed almost three years ago. (Doc. # 51, at 31–33.) Because the 2,000-

foot rule does not directly infringe on the right to family association, and because it

is rationally related to Alabama’s interest in protecting its citizens, it does not violate

substantive due process. McGuire v. City of Montgomery, No. 11-cv-1027, 2013


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WL 1336882, at *11 (M.D. Ala. Mar. 29, 2013); Doe v. Miller, 405 F.3d 700, 710

(8th Cir. 2005). And as explained below, the residency exclusion zone is not vague.

      In short, a valid law — the 2,000-foot exclusion zone — independently keeps

Doe 3 and Doe 7 from living with their desired relatives. Doe 3 and Doe 7 thus lack

standing to challenge the minor-cohabitation rule. See Covenant Media of N.C.,

L.L.C. v. City of Monroe, 285 F. App’x 30, 36 (4th Cir. 2008) (holding that because

one challenged policy was constitutional on the merits, plaintiff lacked standing to

challenge other policies) (citing Get Outdoors II, LLC v. City of San Diego, 506 F.3d

886, 893 (9th Cir. 2007)).

      2.     Plaintiffs cannot prevail on their vagueness claims.

      Count Three of Plaintiffs’ complaint alleges that ASORCNA’s residency and

employment restrictions — specifically, the 2,000-foot exclusion zones — are void

for vagueness. The State is entitled to summary judgment on those claims. To see

why, it helps to first overview the void-for-vagueness doctrine.

             a.     The Fourteenth Amendment prohibits vague laws.

      A basic principle of procedural due process is that laws are void for vagueness

if their prohibitions are not clearly defined. Wollschlaeger v. Governor of Fla., 848

F.3d 1293, 1319 (11th Cir. 2017) (en banc). “Due process encompasses the concepts

of notice and fair warning, and at its core is the principle ‘that no man shall be held

criminally responsible for conduct which he could not reasonably understand to be


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proscribed.’” Indigo Room, Inc. v. City of Ft. Myers, 710 F.3d 1294, 1301 (11th Cir.

2013) (quoting Bankshot Billiards, Inc. v. City of Ocala, 634 F.3d 1340, 1349 (11th

Cir. 2011)). So if a law either forbids or requires action, the law cannot be so unclear

“that persons of common intelligence must necessarily guess at its meaning and

differ as to its application.” Id. (quoting Mason v. Fla. Bar, 208 F.3d 952, 958 (11th

Cir. 2000)).

      A statute can be vague for either of two “connected but discrete” reasons.

F.C.C. v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012). A law is vague if

it “fails to provide a person of ordinary intelligence fair notice of what is prohibited.”

United States v. Williams, 553 U.S. 285, 304 (2008). A law is also vague if it “is so

standardless that it authorizes or even encourages seriously discriminatory

enforcement.” Id.; see also Hill v. Colorado, 530 U.S. 703, 732 (2000); Giaccio v.

Pennsylvania, 382 U.S. 399, 402–03 (1966). Of these two concerns — notice to the

public and guidelines for enforcement — the latter is more important. Kolander v.

Lawson, 461 U.S. 352, 358 (1983).

      Whether the focus is on lack of notice or lack standards for enforcement, the

vagueness doctrine keeps people from having to guess what the law prohibits. But

the issue is not that “close” or “hard” cases might arise. See United States v. Nelson,

712 F.3d 498, 508 (11th Cir. 2013). “What renders a statute vague is not the

possibility that it will sometimes be difficult to determine whether the incriminating


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fact it establishes has been proved; but rather the indeterminacy of precisely what

that fact is.” Williams, 553 U.S. at 306.

      For example, the Supreme Court has held that laws banning “indecent” or

“annoying” actions — both subjective judgments, neither statutorily defined — were

vague. Reno, 521 U.S. at 871–72; Coates v. City of Cincinnati, 402 U.S. 611, 614

(1971). In Kolander v. Lawson, the Court struck down a law that allowed police

officers to arrest anyone who did not present “credible and reliable” identification.

461 U.S. at 353, 358. The law did not specify how officers would decide that an ID

was “credible and reliable,” so it gave “virtually complete discretion” to officers on

their beats. Id. at 358. And in Chicago v. Morales, a city ordinance required officers

to disperse certain people who “remain[ed] in any one place with no apparent

purpose.” 527 U.S. 41, 47 (1999). The ordinance gave “absolute discretion to police

officers” to determine what was illegal. Id. at 61 (cleaned up). Thus, it was vague.

      But courts do not apply these principles to hypotheticals. “Litigants may not

comb the statute books for poorly drafted laws and sue to enjoin their enforcement.”

Bankshot, 634 F.3d at 1349. Instead, courts review laws for vagueness “only when

a litigant alleges a constitutional harm.” Id. Vague laws can harm in two ways. One

harm occurs when a person is prosecuted for violating a vague law. Id. The other

occurs when one is “chilled from engaging in constitutional activity.” Id. at 1350;

see Dana’s R.R. Supply v. Att’y Gen. of Fla., 807 F.3d 1235, 1241 (11th Cir. 2015).


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      Again, though, litigants cannot argue that a law is vague based on how it might

apply to a hypothetical scenario. Instead, courts “consider whether a statute is vague

as applied to the particular facts at issue.” Holder v. Humanitarian Law Project, 561

U.S. 1, 18 (2010). That is because “a plaintiff who engages in some conduct that is

clearly proscribed cannot complain of the vagueness of the law as applied to the

conduct of others.” Id. at 18–19 (quoting Vill. of Hoffman Estates v. The Flipside,

455 U.S. 489, 495 (1982)) (cleaned up). The vagueness doctrine guards against

indeterminacy, but if a law “clearly” proscribes a particular action, then the law is

not vague about that action. Put differently, if a law has a core meaning — if it is

not vague in its entirety — then a vagueness challenge must wait until a litigant’s

conduct falls outside that core meaning. See Ala. Educ. Ass’n v. State Superintendent

of Educ., 746 F.3d 1135, 1140 (11th Cir. 2014); Indigo, 710 F.3d at 1302; United

States v. Di Pietro, 615 F.3d 1369, 1372–73 (11th Cir. 2010); cf. Johnson v. United

States, 135 S. Ct. 2551, 2561 (2015).

      The Eleventh Circuit recently enforced this limitation in Stardust, 3007 LLC

v. City of Brookhaven, 899 F.3d 1164 (11th Cir. 2018). In that case, a city defined

“sexually oriented business” to include “a commercial establishment that regularly

features sexual devices.” Id. at 1168. “Feature” meant “to give special prominence

to.” Id. Sexually oriented businesses were closely regulated. The plaintiff argued

that the terms “special prominence” and “feature” were impermissibly vague. Id. at


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1176. But the Eleventh Circuit held that because the plaintiff “displayed hundreds

of sexual devices in its store, devoting to them an entire room plus space in other

rooms,” it could not advance its vagueness claim. Id. Even if the law could have

been vague as applied to other businesses, the plaintiff’s business “clearly [fell]

within the zone of prohibited conduct.” Id.

      Finally, arbitrary and discriminatory enforcement is relevant in vagueness

cases. A statute cannot leave police officers free to decide, case-by-case, what is

illegal. See Morales, 527 U.S. at 61; Kolander, 461 U.S. at 358. So if a law is

enforced in different ways against different people, that may mean the law is vague.

But at the same time, “discriminatory enforcement does not necessarily mean that

the ordinance that is being enforced is itself void-for-vagueness. The most clearly

stated law against running red lights . . . could be enforced discriminatorily by the

police, if they so chose.” Diversified Numismatics, Inc. v. City of Orlando, 949 F.2d

382, 387 (11th Cir. 1991). Instead, a vagueness claim must show that the text of the

law itself is vague. Indigo, 710 F.3d at 1302.

      It is now time to apply these principles to Plaintiffs’ claims.

             b.    The residency restrictions are not unconstitutionally vague.

      The court previously found that ASORCNA’s residency exclusion zones are

not void for vagueness. (Doc. # 125, at 24–28.) That was for three reasons. First,

the Act defines key terms, especially the word “reside.” Ala. Code § 15-20A-4(20).


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Second, the preapproval process lets offenders know where they can live and offers

them a total “safe harbor.” Id. § 15-20A-11(g); Mason, 208 F.3d at 959 n.4. Finally,

offenders are criminally liable only if they “knowingly” violate the rules. Ala. Code

§ 15-20A-11(i); Hill, 530 U.S. at 732 (holding a scienter requirement “ameliorated”

vagueness concerns).

      Plaintiffs later sought leave to supplement their complaint to allege that the

residency restrictions are “enforced in a shockingly arbitrary and nonsensical

manner by local law enforcement.” (Doc. # 134-1, at 2.) The court granted leave to

supplement the complaint, but it did not judge the merits of Plaintiffs’ addition.

(Doc. # 137, at 9; see Doc. # 125, at 28 n.13.) The court now finds that any arbitrary

or discriminatory enforcement does not result from vagueness in ASORCNA’s text.

The State is thus entitled to summary judgment on this issue.

      Plaintiffs claim that two phrases in ASORCNA’s legislative findings lead to

arbitrary enforcement. One is a statement that offenders have a “reduced expectation

of privacy,” and the other is a reference to “monitoring and tracking” offenders. Ala.

Code § 15-20A-2(1), (5). But those phrases do not prescribe or proscribe anything.

Consider the context of the legislative findings:

      Sex offenders, due to the nature of their offenses, have a reduced
      expectation of privacy. In balancing the sex offender’s rights, and the
      interest of public safety, the Legislature finds that releasing certain
      information to the public furthers the primary governmental interest of
      protecting vulnerable populations, particularly children. Employment
      and residence restrictions, together with monitoring and tracking, also
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      further that interest. The Legislature declares that its intent in imposing
      certain registration, notification, monitoring, and tracking requirements
      on sex offenders is not to punish sex offenders but to protect the public
      and, most importantly, promote child safety.

Id. § 15-20A-2(5). The phrase “reduced expectation of privacy” does not invite law

enforcement to violate constitutional rights; it is a justification for publishing an

offender’s personal information online. And because offenders must report where

they live, work, and travel, they are indeed monitored and tracked.

      Plaintiffs point out that local police conduct “home checks” to see if offenders

live at their reported address. Home checks are unannounced and warrantless. (Doc.

# 150-1, at 5, 7–8; Doc. # 150-2, at 4, 8; Doc. # 150-3, at 4, 17.) At least one police

officer uses the Act’s reference to a “reduced expectation of privacy” to justify home

checks. (Doc. # 150-1, at 5.) And during home checks, officers sometimes violate

the Fourth Amendment, demand that offenders prove their residence by producing

mail or clothing, and treat lawful behavior as evidence of wrongdoing. (See Docs.

# 150-1, 150-2, 150-3, 150-4, 150-5.)

      Plaintiffs try to turn these problems into evidence of vagueness, arguing that

ASORCNA does not “provide clear guidance as to the boundaries under which law

enforcement shall conduct themselves.” (Doc. # 149, at 5.) That misses the point.

The vagueness doctrine is concerned with ambiguity in what a law prohibits. It does

not require statutes to lay out how police officers may (or may not) investigate

potential violations. The problems raised by home checks are “addressed, not by the

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doctrine of vagueness, but by the requirement of proof beyond a reasonable doubt,”

Williams, 553 U.S. at 306, and by the Fourth Amendment. 10

       Plaintiffs present evidence that four offenders (each of whom committed

offenses against minors) live at noncompliant addresses even though Plaintiffs (none

of whom committed offenses against minors) cannot live in exclusion zones. The

court refers to the offenders living at noncompliant addresses by their initials: J.B.

(Doc. # 150-2, at 39–41, 50; Doc. # 150-9); T.D. (Doc. # 150-1, at 13–14; Doc.

# 150-2, at 14–15, 38); F.W. (Doc. # 150-2, at 56); and H.B. (Doc. # 150-2, at 57;

Doc. # 150-10; Doc. # 150-14). But the evidence about J.B., T.D., F.W., and H.B.

does not show that the residency restrictions are vague. Plaintiffs’ attorney deposed

police officers responsible for enforcing the law against those four men. Counsel

asked whether J.B., T.D., F.W., and H.B. should have been allowed to live at

noncompliant addresses. The officers admitted they should not have been allowed

to live at noncompliant addresses. (Doc. # 150-1, at 14, 17, 19; Doc. # 150-2, at 18–

20; Doc. # 150-11, at 6.) That police officers made mistakes does not mean that the

law is vague. In fact, the fact that Plaintiff could tell that four offenders lived at


       10
           Under the Fourth Amendment, police officers “not armed with a warrant” may
“approach a home and knock.” Florida v. Jardines, 569 U.S. 1, 8 (2013). But “the occupant has
no obligation to open the door or to speak.” Kentucky v. King, 563 U.S. 452, 469–70 (2011). Even
if the occupant opens the door, he “need not allow the officers to enter the premises and may refuse
to answer questions at any time.” Id. at 470. And without a warrant, officers may not physically
intrude on a home, or the area immediately surrounding and associated with the home, to gather
evidence. Collins v. Virginia, 138 S. Ct. 1663, 1670 (2018); Moore v. Pederson, 806 F.3d 1036,
1044–45 (11th Cir. 2015).

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noncompliant addresses is evidence that the law has a discernable meaning.

      Doe 3 also presents evidence that local police denied his request to move to a

noncompliant address. The police explained that his chosen address was “approx.

850 feet” from an elementary school. (Doc. # 150-13.) In fact, the house is 750 feet

from the school.     (Doc. # 150-10, at 3.)       Because the address is “clearly”

noncompliant, Doe 3 cannot use the police’s denial to “complain of the vagueness

of the law as applied to the conduct of others.” Hoffman, 455 U.S. at 495.

      Finally, Doe 7 has been the subject of ongoing enforcement efforts in Chilton

County. (See generally Docs. # 150-3, 150-7, 150-8, 150-9, 159-6.) But he has not

shown how those legal troubles arise from any vague provision in the text of the law.

He instead argues that, based on the facts of his case, he never violated the residency

restrictions. That is not an appropriate argument for a facial vagueness challenge.

See Fla. Businessmen for Free Enter. v. City of Hollywood, 673 F.2d 1213, 1220

(11th Cir. 1982) (“A facial challenge . . . is not the appropriate time for litigating

claims of selective enforcement.”).

             c.     Plaintiffs cannot prevail in their challenge to the employment
                    restrictions.

      Plaintiffs challenge the employment exclusion zones based not on selective

enforcement, but on the text of the law itself. The court previously allowed their

claim to proceed, stating that “registrants can only guess at whether their place of

employment falls within a zone of exclusion” and that “the employment restriction

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remains confoundingly opaque.” (Doc. # 125, at 28–29.) That was at the motion to

dismiss stage, however. On summary judgment, Plaintiffs must back up their claims

with evidence. But Plaintiffs have presented no evidence that they ever had to guess

whether a potential employer was in an exclusion zone. There is no evidence that

Plaintiffs cannot tell what the law requires. Most Plaintiffs are disabled. And there

is no evidence at all about Doe 1’s employment status. The State is therefore entitled

to summary judgment.

      Only three Plaintiffs — Doe 3, Doe 7, and Doe 9 — describe their attempts to

find jobs. Their descriptions show that at least some of their desired places of

employment are “clearly proscribed” by the exclusion zones. Hoffman, 455 U.S. at

495. That keeps them from claiming that the law is facially vague.

      In the complaint, Doe 3 states that he “inquired about working at several auto

body and paint [shops] in his city.” “None” were ASORCNA-compliant “because

of the zones of exclusion.” (Doc. # 138, at 30.) In his deposition, Doe 3 described

his efforts to get a job at two auto body shops. But rather than state that he was not

sure whether the shops were ASORCNA-compliant, he testified that the shops

turned him away because of his branded identification. (Doc. # 156-1, at 14–15.)

      The complaint states that Doe 7 must “turn down many roofing, framing, brick

masonry, and construction clean-up jobs” because he “may only work in areas

allowed by ASORCNA’s employment zones.” (Doc. # 138, at 30.) That statement


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implies Doe 7 turns down jobs because he knows some construction sites are within

2,000 feet of a school or childcare facility. 11 In his deposition, Doe 7 does not even

mention the employment exclusion zones. Instead, he says that he was turned down

for a job when the employer saw his branded identification. (Doc. # 156-4, at 7.)

       Finally, Doe 9 alleges that “ASORCNA prohibits [him] from working in the

vast majority of businesses in his hometown because of the employment zones of

exclusion.” (Doc. # 138, at 31.) Once again, this shows that the exclusion zones are

not vague as applied to Plaintiffs.

       There is another problem with Plaintiffs’ vagueness claim: Doe 3, Doe 7, and

Doe 10 are disabled and receive Social Security disability payments. Doe 3 admits

that disability payments are his sole source of income, that he proved he was

physically unable to work to get those payments, and that he does not foresee his

condition improving enough to obtain work. (Doc. # 156-1, at 7–8.) Doe 7 likewise

admits that he proved he was physically unable to work and that he does not foresee

his condition improving enough to work “in the near future.” (Doc. # 156-4, at 7.)

The only evidence about Doe 10’s employment status is that he “is disabled” and

receives disability payments. (Doc. # 138, at 15.) Doe 3 does claim he can work as


       11
           At best, Doe 7’s statement is ambiguous, failing to specify whether he knows that some
jobs are within exclusion zones or whether he avoids some jobs out of an abundance of caution.
To the extent the latter interpretation is reasonable, it still does not prevent summary judgment.
Walker v. Darby, 911 F.2d 1573, 1577 (11th Cir. 1990) (“A mere ‘scintilla’ of evidence . . . will
not suffice; there must be enough of a showing that the jury could reasonably find for that party.”)

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an auto body painter and that he would accept reduced disability benefits if he could

work. (Doc. # 156-1, at 14.) Doe 7 also testifies that he cleans construction sites

one or two days a week. (Doc. # 156-4, at 12.) But as explained above, those facts

do not allow Plaintiffs to bring a vagueness challenge.

       Finally, the complaint alleges that some offenders are allowed to work in

exclusion zones, even if their crimes were against children. (Doc. # 138, at 42–43.)

But there is no evidence supporting that statement. There is no way to tell if it is

based on personal knowledge. And again, one “who engages in some conduct that

is clearly proscribed cannot complain of the vagueness of the law as applied to the

conduct of others.” Hoffman, 455 U.S. at 495; see Di Pietro, 615 F.3d at 1372.

       None of this is to say that ASORCNA’s employment restrictions are clear in

every respect. The statute still lacks a preapproval process. It still does not address

what happens when a worker makes a service call, performs intermittent work at

different sites across town, or drives a car for a living. But those ambiguities must

wait until another day. See Holder, 561 U.S. at 22–25. The evidence shows that

Plaintiffs’ conduct is clearly proscribed by the Act — or else that Plaintiffs have not

been chilled from gaining employment. The State is therefore entitled to summary

judgment on Plaintiffs’ vagueness claims.

C.     Plaintiffs’ claims are not barred by the statute of limitations.

       One more thing. The State twice moved to dismiss the claims at issue here.


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(Docs. # 44, 87.) In neither motion did it argue that these claims are barred by the

statute of limitations. So it is a surprise to see the State now argue that every claim

in the operative complaint is untimely. (Doc. # 155, at 17–25.) But in the end, the

State’s heel-dragging does not matter. Plaintiffs’ claims are not time-barred.

      Because Plaintiffs filed a claim under 42 U.S.C. § 1983 in Alabama, they are

subject to a two-year statute of limitations. Ala. Code § 6-2-38(l); McNair v. Allen,

515 F.3d 1168, 1173 (11th Cir. 2008). When that clock starts running is a question

of federal law. Wallace v. Kato, 549 U.S. 384, 388 (2007). In general, “the statute

of limitations begins to run from the date the facts which would support a cause of

action are apparent or should be apparent to a person with a reasonably prudent

regard for his rights.” Brown v. Ga. Bd. of Pardons & Paroles, 335 F.3d 1259, 1261

(11th Cir. 2003) (cleaned up).

      But not all injuries are equal. Sometimes, there is one discrete point at which

the injury occurs. Other times, however, the injury happens over and over again.

When the injury occurs determines when the statute of limitations starts running.

      Plaintiffs claim that ASORCNA is unconstitutionally vague and violates their

fundamental rights. If that is true, then ASORCNA afflicts a fresh injury each day

that Plaintiffs are subject to the law. In Kuhnle Brothers v. County of Geauga, for

example, the Sixth Circuit held that a claim for the deprivation of the right to travel

accrues every day while the unconstitutional law is in effect. 103 F.3d 516, 522 (6th


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Cir. 1997); see Hillcrest Prop., LLC v. Pasco Cty., 754 F.3d 1279, 1283 (11th Cir.

2014) (citing Kuhnle with approval). And in Beavers v. American Cast Iron Pipe

Co., the Eleventh Circuit held that each week in which a discriminatory insurance

policy was in effect constituted a new Title VII violation. 975 F.2d 792, 798 (11th

Cir. 1992); cf. also Montin v. Estate of Johnson, 636 F.3d 409, 416 (8th Cir. 2011).

      Plaintiffs have an ongoing duty to report their internet activity. They must

repeatedly show their branded identification to random strangers. They are forever

barred from living with their nieces and nephews. They are bound in perpetuity by

allegedly vague laws. Thus, each new day is a new injury. And so far as the law is

enforced, Plaintiffs will suffer new injuries. See Maldonado v. Harris, 370 F.3d

945, 956 (9th Cir. 2004).

      This in no way conflicts with the Eleventh Circuit’s pronouncements in Moore

v. Federal Bureau of Prisons, 553 F. App’x 888 (11th Cir. 2014) (per curiam), and

Meggison v. Bailey, 575 F. App’x 865 (11th Cir. 2014) (per curiam). In those cases,

the plaintiffs alleged that they were not sex offenders but were wrongly registered

as offenders. The Eleventh Circuit held their injury accrued when they learned that

they had been wrongly registered. Moore, 553 F. App’x at 890; Meggison, 575 F.

App’x at 867; see also Cibula v. Fox, 570 F. App’x 129, 136 (3d Cir. 2014); Romero

v. Lander, 461 F. App’x 661, 668 (10th Cir. 2012). And in Mims v. Bentley, a district

court found that an ex post facto challenge to a sex-offender registration requirement


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accrued when the alleged ex post facto punishment was imposed — that is, when the

plaintiff registered. No. 15-cv-119, 2015 WL 5736829, at *2 (N.D. Ala. Oct. 1,

2015); see also Smelcher v. Att’y Gen. of Ala., No. 18-cv-1099, 2019 WL 142323,

at *4 (N.D. Ala. Jan. 9, 2019) (reaching the same conclusion when another plaintiff

attacked the need to register as sex offender).

      But the injury caused by wrongful registration is not the same injury caused

by the constant deprivation of fundamental rights. Yes, registration triggers ongoing

obligations, but the plaintiffs in Moore, Meggison, and Mims challenged registration

itself. That is different from claiming that certain restrictions on everyday activities

violate the First Amendment. Plaintiffs here are repeatedly compelled to speak and

forced to report internet use. They suffered those injuries within two years of suing

(and continue to suffer them), so their claims are timely.

                                 V. CONCLUSION

      Alabama can prosecute sex offenses to the full extent of the law. It can also

act to protect its citizens from recidivist sex offenders. But the State denies that

ASORCNA is designed to “punish” offenders. And once a person serves his full

sentence, he enjoys the full protection of the Constitution. Harris, 772 F.3d at 572;

accord Packingham, 137 S. Ct. at 1737. Sex offenders are not second-class citizens,

and anyone who thinks otherwise would do well to remember Thomas Paine’s

wisdom: “He that would make his own liberty secure, must guard even his enemy


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from oppression; for if he violates this duty, he establishes a precedent that will reach

to himself.” Dissertation on First-Principles of Government 32 (1795).

      It is therefore ORDERED that:

      1.     Plaintiffs’ first Motion for Partial Summary Judgment (Doc. # 139) is

GRANTED as to Counts Four and Five and DENIED as to Counts One and Three.

      2.     Plaintiffs’ second Motion for Partial Summary Judgment (Doc. # 147)

is DENIED.

      3.     Defendants’ Motion for Judgment on the Pleadings, or, in the

alternative, Motion for Summary Judgment (Doc. # 154) is GRANTED as to Counts

One and Three and DENIED as to Counts Four and Five.

      4.     The State of Alabama’s branded-identification requirement, Ala. Code

§ 15-20A-18, is DECLARED unconstitutional as applied to Plaintiffs.

      5.     The State of Alabama’s internet-use reporting requirements, Ala. Code

§§ 15-20A(a)(9), (18), 15-20A-10(e)(1), are DECLARED facially unconstitutional.

      DONE this 11th day of February, 2019.

                                                      /s/ W. Keith Watkins
                                                UNITED STATES DISTRICT JUDGE




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